                     UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF NORTH CAROLINA
                           WESTERN DIVISION
                         CASE NO. 5:19-cv-00345-FL
 STEVE SANDS,
         Plaintiff,

    - vs -

EPICSTREAM, LLC

             Defendant.
                                               /

    PLAINTIFF’S MOTION FOR 30-DAY EXTENSION OF TIME TO
       RETAIN LOCAL COUNSEL AND TO FILE NOTICE OF
      SPECIAL APPEARANCE PURSUANT TO L.R. 83.1(d)-(e)


      Pursuant to Local Rule 6.1(a), Plaintiff Steve Sands, via counsel, respectfully

requests a thirty (30) day extension of time to comply with Local Rule 83.1(d)-(e).

      Defendant has indicated that it will not consent to this motion.

      Good cause exists because Mr. Liebowitz is an out-of-state attorney and needs

reasonable time to retain local co-counsel.

                                                   Respectfully Submitted:



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